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                        UNITED STATES BANKRUPTCY COURT

                      SOUTHERN DISTRICT OF OHIO (DAYTON)

IN RE:                                      *              CASE NO. 19-30822

TAGNETICS INC.                              *              JUDGE HUMPHREY

         INVOLUNTARY DEBTOR                 *              CHAPTER 7


 MOTION TO WITHDRAW FROM BAKRUPTCY PROCEEDINGS OF PETITIONING
                 CREDITOR KAYSER VENTURES LTD.

        Now comes the Petitioning Creditor KAYSER VENTURES LTD., by and through its
counsel Christopher L. Wesner, and does hereby move this Court to allow Kayser Ventures
Ltd.’s withdraw as a petitioning creditor in the above entitled case.

                              MEMORANDUM IN SUPPORT

       Kayser Ventures Ltd.’s claim in this case has reached a settlement. As Kayser Ventures
Ltd. Claim has been paid in full, it is hereby requested that the Court issue an order approving
the Motion of Kayser Ventures Ltd. to withdraw from any further bankruptcy proceedings in this
matter as per the telephonic pretrial conference held on July 19, 2019.


Dated: 7/19/2019                             Respectfully submitted,
                                             /s/ Christopher L. Wesner
                                             Christopher L. Wesner (0082699)
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                                         CERTIFICATE OF SERVICE

        I hereby certify that this document was served by email (when the email address of the

party was available to me) and regular U.S. mail this day of July19, 2019 upon the following:

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                                                     /s/ Christopher L. Wesner




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